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COMMONWEALTH OF KENTUCKY
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JEFFERSON CIRCUIT COURT ome 3
DIVISION
CIVIL ACTION NO.: 07-CL-

 

RACHEL CLARK, Administratrix of the
Estate of JAMES RAY CLARK, deceased,

and as Next Friend for Johnna R. Clark, a minor child PLAINTIFF
Vs. COMPLAINT
HUBER TIRE, INC.

SERVE: Fredrick M. Ralston
2500 Crittenden Drive
Louisville, Kentucky 40217
BRIDGESTONE FIRESTONE “ DEFENDANTS
NORTH AMERICAN TIRE, LLC
SERVE: National Registered Agents, Inc.

400 West Market Street, Suite 1800
Louisville, Kentucky 40202

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Comes the Plaintiff, Rachel Clark, Administratrix of the Estate of James Ray Clark,
deceased, and as Next Friend for Johnna R. Clark, a minor child, by counsel, and for her
Complaint and causes of action against the Defendants, Huber Tire, Inc. (hereinafter “Huber
Tire”) and Bridgestone Firestone North American Tire, LLC (hereinafter “Bridgestone”), states
as follows:

PARTIES, JURISDICTION AND VENUE

1. The Plaintiff, Rachel Clark, is the Administratrix of the Estate of James Ray Clark,

deceased, having been appointed as such by Order of the Meade District Court of Kentucky,

Probate Action No.: 06-P-00090, entered June 14, 2006. She also files this action as Next Friend
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for her minor child, Johnna R. Clark,

2. Bridgestone is a Delaware limited liability company whose agent in Kentucky for
service of lawful process is National Registered Agents, Inc. At all times material hereto,
Bridgestone was engaged in the business of testing, developing, manufacturing, marketing,
distributing, promoting, and/or selling, either directly or indirectly, through third parties or
related entities, commercial and all-purpose vehicle tires.

3. Huber Tire, at all times relevant hereto, was an Indiana corporation, whose agent in
Kentucky for service of lawful process is Fredrick M. Ralston, 2500 Crittenden Drive, Louisville,
Kentucky 40217. Huber Tire was engaged in the business of selling commercial and all-purpose
vehicle tires to retail customers and maintaining, servicing and repairing said vehicle tires,

4. The damages claimed herein are in excess of the minimum jurisdictional requirements
of this Court.

5. Venue is proper pursuant to KRS 452.450.

FACTUAL BACKGROUND

6. Prior to April 10, 2006, Bridgestone manufactured, distributed and sold a certain
Firestone Steel Tex A-T, Size LT 265-75R, Load Range B tire (hereinafter referred to as the
“tire”).

7. On or about June 23, 2003, the tire was sold by Huber Tire to Cundiff Steel Erectors,
Inc., the employer of James Ray Clark. The tire was installed by Huber Tire on a vehicle owned
by Cundiff Steel Erectors, Inc.

8. At the time that Huber Tire sold the tire to Cundiff Steel Erectors, Inc., it knew of the

particular vehicle upon which the tire would be installed and the particular purpose for which the
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tire would be used. Cundiff Steel Erectors, Inc., specifically relied upon the expertise of Huber
Tire in the selection and installation of the tire.

9. The tire sold and installed by Huber Tire upon the vehicle owned by Cundiff Steel
Erectors, Inc., was of improper load range for the vehicle upon which it was installed.

10. On or about July 3, 2003, Huber Tire performed repair of the tire by improperly
plugging the tire.

11. Bridgestone manufactured the tire and it was reasonably foreseeable that said tire
would be used by consumers in the state and condition as was the subject tire.

12. On or about April 10, 2006, on a roadway in Jefferson County, Kentucky, James Ray
Clark was a passenger in the vehicle upon which the tire had been installed. At that time and
place, the tire failed, causing the driver of the vehicle to lose control of the vehicle, leave the
roadway and overturn.

CAUSES OF ACTION
COUNT I - STRICT LIABILITY - BRIDGESTONE

 

13. The Plaintiff incorporates by reference all other paragraphs of this Complaint as if |
fully set forth herein at length.

14, The tire in question, as sold by Bridgestone, was defective and unreasonably
dangerous to consumers, including James Ray Clark, and/or was unfit for its intended purpose in
that, among other things, and without limitation, it was manufactured without a nylon cap ply.

15. The subject tire and tires like it were expected to reach, and did reach, consumers and
users throughout the United States, including James Ray Clark and his employer, without

substantial change in the condition in which it was originally sold by Bridgestone.
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16. Bridgestone did not inform or otherwise warn James Ray Clark, his employer or
other consumers that the tire was defective or was unfit for the very purpose for which it was
intended.

17. The actions set forth in this Count were a substantial factor in causing damages, as
set out in the Counts below, to James Ray Clark, his Estate and his minor child and for which _
Bridgestone is legally responsible.

COUNT II - NEGLIGENCE - BRIDGESTONE

18. The Plaintiff incorporates by reference all other paragraphs of this Complaint as if
fully set forth herein at length.

19. Bridgestone marketed its tires, including the subject tire, to and for the benefit of the
consuming public, and knew or should have known that the consuming public would use the tire
for the purpose that it was marketed, as well as other uses.

20. Bridgestone owed James Ray Clark the duty to exercise reasonable care in light of
the generally recognized and prevailing manufacturing and design knowledge.

21. Through the conduct described herein and above, Bridgestone breached its duties to
James Ray Clark by designing, manufacturing, developing, testing, marketing and selling the tire
in question even though it failed to comply with generally recognized and prevailing
manufacturing and design knowledge.

22. Bridgestone knew, or should have known, that due to its failure to use reasonable
care, James Ray Clark would foreseeably use the tire to the detriment of his health, safety and
well-being.

23. The actions set forth in this Count were a substantial factor in causing damages, as
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set out in the Counts below, to James Ray Clark, his Estate and his minor child, and for which
Bridgestone is legally responsible.
COUNT III - FAILURE TO WARN - BRIDGESTONE

24, The Plaintiff incorporates by reference all other paragraphs of this Complaint as if
fully set forth herein at length.

25. Bridgestone had a continuing duty to warn the consuming public of the risks and
benefits associated with the subject tire.

26. The tire in question was defective and unreasonably dangerous when it left the
possession of Bridgestone because, among other things and without limitations, it was
manufactured without a nylon cap ply.

27. Bridgestone, as a manufacturer of tires, is held to the level of knowledge of an expert
in the field.

28. The warnings that were given by Bridgestone to the consuming public and users of
its tires were defective in that they misrepresented what Bridgestone knew, or should have
known, and were not adequate, clear or complete.

29. Bridgestone had a continuing duty to warn the consuming public, and breached that
duty.

30. The actions set forth in this Count were a substantial factor in causing damages, as
set out in the Counts below, to James Ray Clark, his Estate and his minor child and for which
Bridgestone is legally responsible.

COUNT IV - NEGLIGENCE - HUBER TIRE

31. The Plaintiff incorporates by reference all other paragraphs of this Complaint as if
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fully set forth herein at length.

32. Huber Tire was so negligent in the selection, installation and subsequent attempt to
repair the tire as to cause that tire, as used, to be unreasonably dangerous to foreseeable users of
the tire, including James Ray Clark.

33. The actions set forth in this Count were a substantial factor in causing damages, as
set out in the Counts below, to James Ray Clark, his Estate and his minor child and for which
Huber Tire is legally responsible.

COUNT V - BREACH OF EXPRESS AND IMPLIED WARRANTY - BRIDGESTONE
AND HUBER TIRE

34. The Plaintiff incorporates by reference all other paragraphs of this Complaint as if
fully set forth herein at length.

35. Bridgestone and Huber Tire, through description, affirmation of fact, and promises
relating to its tires, including the tire in question, and made to the general public, including James
Ray Clark and his employer, expressly warranted that the tire in question was both effective and _
safe for its intended use.

36. Bridgestone and Huber Tire also impliedly warranted that its tires, including the tire
in question, were of merchantable quality and were fit for their intended use and particular
purpose.

37. A the time of these express and implied warranties, Bridgestone and Huber Tire had
knowledge of the purpose for which its tires were to be used and warranted said tires to be in all
aspects safe, effective, and proper for such purpose.

38. The tire in question did not conform to these express and implied warranties in that it
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was neither safe nor effective in its use and as such it was not in conformity with the promises,
descriptions or affirmations of fact made about said tire nor was it adequately packaged, labeled
or fit for the ordinary purposes for which such goods are used.

39, The actions set forth in this Count were a substantial factor in causing damages, as
set out in the Counts below, to James Ray Clark, his Estate and his minor child, and for which
Bridgestone and Huber Tire are legally responsible.

DAMAGES
COUNT VI - BODILY INJURY DAMAGES AND DEATH

40. The Plaintiff incorporates by reference all other paragraphs of this Complaint as if
fully set forth herein at length.

41. Asa result of the actions and failures to act of Bridgestone and Huber Tire, as set
forth in this Complaint, James Ray Clark sustained pain and suffering, physical, emotional and
mental, including the loss of enjoyment of life. As a further result of said actions, James Ray
Clark was killed.

42. Asa result of the actions and failures to act of Bridgestone and Huber Tire, as set
forth in this Complaint, James Ray Clark incurred medical and other expenses for his care and
treatment, and his Estate incurred burial and related expenses.

43. As a result of the actions and failures to act of Bridgestone and Huber Tire, as set
forth in this Complaint, the Estate of James Ray Clark suffered the destruction of James Ray
Clark’s future ability to labor and earn money.

44. Bridgestone and Huber Tire are liable for the compensatory damages of James Ray

Clark and his Estate, as set forth herein.
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COUNT VII - CHILD’S LOSS OF CONSORTIUM

45. The Plaintiff incorporates by reference all other paragraphs of this Complaint
as if fully set forth herein.

46. Johnna R. Clark was at all times relevant hereto the minor child of James Ray Clark,
and as such lived and cohabited with James Ray Clark.

47. As a result of the actions and failures to act of Bridgestone and Huber Tire, as set
forth in this Complaint, Johnna R. Clark has suffered, and will in the future suffer, the loss of
James Ray Clark’s love, affection, companionship, support, services and society, as a result of
which Johnna R. Clark has and will also be caused great suffering, loss and mental anguish.

48. Bridgestone and Huber Tire are jointly and severally liable for the compensatory
damages of Johnna R. Clark as set forth herein.

COUNT VIII - PUNITIVE DAMAGES - BRIDGESTONE

49. The Plaintiff incorporates by reference all paragraphs of this Complaint as if fully set
forth herein at length.

50. The Estate of James Ray Clark and Johnna R. Clark are entitled to punitive damages
because Bridgestone’s actions and failure to act as set forth herein were reckless and without
regard for the public’s safety and welfare. Bridgestone misled both the public at large, including
James Ray Clark and his employer, by making false representations about the safety of its tires.
Bridgestone downplayed, understated and disregarded its knowledge that the serious deficiencies
in tires manufactured without nylon cap plies would likely cause serious and sometimes fatal
injuries to users.

51. Bridgestone was or should have been in possession of evidence demonstrating that its
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tires manufactured without nylon cap plies caused serious adverse events upon failure.
Bridgestone failed to conduct appropriate and necessary testing, despite repeated indications
therefore, and continued to market its tires by providing false and misleading information with
regard to the safety of said tires.

52. Bridgestone acted willfully, wantonly, intentionally, outrageously, and with reckless
and conscious disregard for the health, welfare, safety and rights of James Ray Clark, Johnna R.
Clark and the general public.

53. Bridgestone is liable to the Estate of James Ray Clark and Johnna R. Clark for
punitive damages in an amount as supported by the evidence and the law of the Commonwealth
of Kentucky.

PRAYER FOR RELIEF

WHEREFORE, the Plaintiff, Rachel Clark, Administratrix of the Estate of James Ray
Clark and as Next Friend for Johnna R. Clark, a minor child, requests that this Court enter
judgment against Defendants, jointly and severally, and award relief as follows:

1. Compensatory damages against Bridgestone and Huber Tire in an amount supported
by the evidence at trial;

2. An award of attorney’s fees, pre-judgment and post-judgment interest, and costs of
suit, as provided by law against Bridgestone and Huber Tire;

3. Punitive damages against Bridgestone, in an amount to be determined at trial;

4, Trial by jury on all issues so triable, and;

5. Such other legal and equitable relief as this Court deems just and proper.

JURY TRIAL DEMANDED
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Respectfully Submitted,

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Commonwealth of Kentucky

Court of Justice www.courts.ky.gov
CR 4.02; CR Official Form 1

 

 

 

 

 

 

Civil SUMMONS
PLAINTIFF
Rachel Clark
" COUP COURT
iy EVEN (14)
VS.
DEFENDANT

Bridgestone Firestone North American Tire

Service of Process Agent for Defendant:
National Registered Agents, Inc.

400 West Mark Street
Suite 1800

Louisville Kentucky 40202

THE COMMONWEALTH OF KENTUCKY
TO THE ABOVE-NAMED DEFENDANT(S):

You are hereby notified a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney on

your behalf within 20 days following the day this paper is delivered to you, judgment by default may be taken against you
for the relief demanded in the attached Complaint.

The name(s) and address(es) of the party or parties demanding relief against you are shown on the document
delivered to you with this Summons.

Date: J UN 8 27 2 —Davic a Nichia — Cler
By: Sry C.

 

 

 

Proof of Service
This Summons was served by delivering a true copy and the Complaint (or other initiating document) to:

 

this day of 2
Served by:

 

 

 

Title

 

 

 

 

 
